 Case 4:98-cr-40002-JPG         Document 356 Filed 07/23/12             Page 1 of 3      Page ID
                                          #305



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )       No. 98-cr-40002 JPG
                                                 )
DEWAYNE C. ANTHONY,                              )
                                                 )
       Defendant.                                )

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Dewayne C. Anthony’s pro se motion

for a reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States

Sentencing Guidelines Manual (“U.S.S.G.”) § 1B1.10 (Doc. 345). The Court appointed counsel

for Anthony, and counsel has moved to withdraw on the basis that she can make no non-

frivolous arguments in support of the defendant’s request (Doc. 350). See Anders v. California,

386 U.S. 738, 744 (1967). Neither the defendant nor the government has responded to the

motions, although they were given an opportunity to do so. See Admin. Order 137.

       Anthony pled guilty to one count of conspiring to distribute crack cocaine and three

counts of distributing crack cocaine. At sentencing, the Court found by a preponderance of the

evidence that Anthony’s relevant conduct was at least 20 grams but less than 35 grams of crack

cocaine, which under U.S.S.G.1 § 2D1.1 yielded a base offense level of 28. His offense level

was reduced by three points under U.S.S.G. § 3E1.1 for acceptance of responsibility. The Court

further found that Anthony was a career offender under U.S.S.G. § 4B1.1 based on prior drug or

violent felony convictions, which raised his base offense level to 34, again reduced by 3 to 31 for


       1
        Unless otherwise noted, the references to the guidelines in this order are to the 1998
United States Sentencing Guidelines Manual.
 Case 4:98-cr-40002-JPG          Document 356 Filed 07/23/12               Page 2 of 3      Page ID
                                           #306



acceptance of responsibility. Considering Anthony’s criminal history category of VI, established

by his career offender status under U.S.S.G. § 4B1.1, this yielded a sentencing range of 188 to

235 months in prison. The Court imposed a sentence of 204 months for each count. See 21

U.S.C. § 841(b)(1)(B) & (C).

       Anthony now asks the Court to apply recent changes to U.S.S.G. § 2D1.1 to lower his

sentence. Amendment 750 amended U.S.S.G. § 2D1.1(c) as of November 1, 2011, to lower

some base offense levels associated with various amounts of crack cocaine. The relevant parts

of Amendment 750 are retroactive. See U.S.S.G. § 1B1.10(c) (2011).

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

must ensure that any reduction “is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence

reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied, 129 S. Ct. 2817 (2009).

       Anthony cannot satisfy the first criterion because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing


                                                  2
 Case 4:98-cr-40002-JPG         Document 356 Filed 07/23/12             Page 3 of 3     Page ID
                                          #307



Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Although Amendment 750

amended U.S.S.G. § 2D1.1 to lower some base offense levels associated with crack cocaine,

Anthony was sentenced based on his base offense level set forth in U.S.S.G. § 4B1.1, not his

base offense level set forth in U.S.S.G. § 2D1.1. See Forman, 553 F.3d at 589-90. Thus, his

guideline range has not been lowered, and he cannot satisfy the first criterion under 18 U.S.C. §

3582(c)(2) for obtaining a sentence reduction. See United States v. Griffin, 652 F.3d 793, 803

(7th Cir. 2011).

       Because Anthony cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

obtaining a sentence reduction, the Court does not have subject matter jurisdiction to consider

his reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court

therefore GRANTS counsel’s motion to withdraw (Doc. 350) and DISMISSES Anthony’s

motion for a sentence reduction (Doc. 345) for lack of jurisdiction.

IT IS SO ORDERED.
DATED: July 23, 2012.

                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             U.S. DISTRICT JUDGE




                                                3
